                 Case
AO 245C (Rev. 11/16)    2:13-cr-00083-JCM-CWH
                     Amended Judgment in a Criminal Case                Document 268              Filed 01/04/17(NOTE:
                                                                                                                    Page     1 Changes
                                                                                                                       Identify of 12 with Asterisks (*))
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                          __________  District
                                                                  District     of __________
                                                                           of Nevada
                UNITED STATES OF AMERICA                                        )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                      v.                                        )
                                                                                )   Case Number: 2:13-CR-0083-JCM-CWH
                TAI KEYSTER aka TAI MADERIA                                     )
                                                                                    USM Number:
                                           12/5/2016
                                                                                )
Date of Original Judgment:                                                          JOSHUA TOMSHECK
                                           (Or Date of Last Amended Judgment)
                                                                                )   Defendant’s Attorney
                                                                                )
Reason for Amendment:
                                                                                )
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))               )   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                )
                                                                                    G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           )   G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                )
                                                                                )   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                )     G 18 U.S.C. § 3559(c)(7)
                                                                                    ✔
                                                                                    G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              ONE [1] AND FIVE [5] OF THE SUPERSEDING INDICTMENT
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                Offense Ended                 Count
 18 USC§§ 1349,1344                 Conspiracy to Commit Bank Fraud, Mail Fraud and Wire Fraud                            1/2003                    1

 1341, 1343
 18 USC§1344                         Bank Fraud                                                                          11/2006                    5
       The defendant is sentenced as provided in pages 2 through                    2          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) All remaining counts
G                                                     ✔ are dismissed on the motion of the United States.
                                                 G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 11/29/2016
                                                                                Date of Imposition of Judgment


                                                                                    Signature of Judge
                                                                                     James C. Mahan, U.S. District J
                                                                                    Name and Title of Judge
                                                                                     January 4, 2017
                                                                                    Date
                Case
AO 245C (Rev. 11/16)   2:13-cr-00083-JCM-CWH
                     Amended  Judgment in a Criminal Case    Document 268            Filed 01/04/17          Page 2 of 12
                     Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page               of          2
DEFENDANT: TAI KEYSTER aka TAI MADERIA
CASE NUMBER: 2:13-CR-0083-JCM-CWH

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
TIME SERVED




G      The court makes the following recommendations to the Bureau of Prisons:




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
                Case
AO 245C (Rev. 11/16)   2:13-cr-00083-JCM-CWH
                     Amended  Judgment in a Criminal Case     Document 268            Filed 01/04/17         Page 3 of 12
                     Sheet 3 — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page               of         2
DEFENDANT: TAI KEYSTER aka TAI MADERIA
CASE NUMBER: 2:13-CR-0083-JCM-CWH
                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of : 5 years per count to run concurrent

                                                 MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the courtQRWWRH[FHHGWHVWVDQQXDOO\.
        G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
             substance abuse. (check if applicable)
    ✔
4. G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
        reside, work, area student, or were convicted of a qualifying offense. (check if applicable)
6. G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                Case
AO 245C (Rev. 11/16)   2:13-cr-00083-JCM-CWH
                     Amended  Judgment in a Criminal Case     Document 268             Filed 01/04/17          Page 4 of 12
                     Sheet 3A — Supervised Release
                                                                                                        Judgment—Page            of        2
DEFENDANT: TAI KEYSTER aka TAI MADERIA
CASE NUMBER: 2:13-CR-0083-JCM-CWH

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
                Case
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                     Sheet 3D — Supervised Release                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                              Judgment—Page               of         2
DEFENDANT: TAI KEYSTER aka TAI MADERIA
CASE NUMBER: 2:13-CR-0083-JCM-CWH

                                     SPECIAL CONDITIONS OF SUPERVISION
  1. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
  negotiating or consummating any financial contracts without the approval of the probation officer.

  2. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
  including personal income tax returns, authorization for release of credit information, and any other business financial
  information in which you have a control or interest.

  3. Employment Restriction - You shall be restricted from engaging in employment, consulting, or any association with any
  mortgage business for a period of five years.

  4. No Contact Condition - You shall not have contact, directly or indirectly, associate with, or be within 500 feet of co
  defendants, their residence or business, and if confronted by co defendants in a public place, you shall immediately
  remove yourself from the area.

  5. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under
  your control to a search, conducted by the United States probation officer or any authorized person under the
  immediate and personal supervision of the probation officer, at a reasonable time and in a reasonable
  manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
  supervision; failure to submit to a search may be grounds for revocation; the defendant shall inform any other residents
  that the premises may be subject to a search pursuant to this condition.

  Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
  court at the time of sentencing.
                Case
AO 245C (Rev. 11/16)    2:13-cr-00083-JCM-CWH
                     Amended  Judgment in a Criminal Case      Document 268            Filed 01/04/17             Page 6 of 12
                     Sheet 5 — Criminal Monetary Penalties                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page       2        of          2
DEFENDANT: TAI KEYSTER aka TAI MADERIA
CASE NUMBER: 2:13-CR-0083-JCM-CWH
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                 JVTA Assessment*   Fine                                     Restitution
                                            $ 0.00
TOTALS           $ 200.00                                      $ 0.00                                   $ 115,214.38
                                                                                                                            *
G The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss**                       Restitution Ordered                     Priority or Percentage


See attached amended restitution list below:




TOTALS                           $                           0.00        $                       0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for       G fine          G restitution.
     G the interest requirement for the      G fine          G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                U.S. vs. TAI KEYESTER aka TAI MADERIA
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                                                Restitution List


Victim Name                          Address                         City, State        Zip     Loss Amount

Aegis Funding Corp                   9990 Richmond Ave Ste 350       Houston, TX        77042   $    257.60

Aegis Mortgage Corp                  3250 Briarpark Dr               Houston, TX        77042   $      76.90
American Mortgage Express dba
Millennium Funding Group             1775 Wehrle Dr                  Buffalo, NY        14221   $    182.24

Aurora Commercial Corp               7807 E Peakview Ave             Centennial, CO     80111   $   4,653.81

Aurora Loan SVS                      10350 Park Meadows Dr           Littleton, CO      80124   $    466.18
                                     PO Box 29961
Bank of America                      Mail Code: AZ1-200-20-35        Phoenix, AZ        85038   $ 21,358.46

Barclays Bank PLC                    200 Park Ave Fl 3W              New York, NY       10066   $    286.82

Central Mortgage Co                  PO Box 8025                     Little Rock, AR    72203   $   1,574.83

CitiBank, NA                         1 Penns Way                     New Castle, DE     19720   $ 11,671.09

CitiMortgage, Inc                    4740 121st St                   Urbandale, IA      50323   $    745.82

Cornerstone Quarry 2010A LLC         1004 SE 13th St                 Brainerd, MN       56401   $    370.06

Credit Suisse Securities (USA) LLC   1 Madison Ave 9th Floor         New York, NY       10010   $    494.83

DD Acquisition Sub LLC               6203 E Dr Martin Luther         Tampa, FL          33619   $    307.58
                                     60 Wall Street
Deutsche Bank National Trust Co      Mail Stop: NYC 60-3615          New York, NY       10015   $   5,019.05

DTA Solutions LLC                    9428 Baymeadows Rd, Suite 260   Jacksonville, FL   32256   $    288.36

EMC Mortgage                         909 Hidden Ridge                Irving, TX         75038   $    482.52

Equifirst Corp                       500 Forrest Point Cir           Charlotte, NC      28273   $    238.38

Fannie Mae                           3900 Wisconsin Ave, NW          Washongton, DC     20016   $    700.14

FDIC                                 3501 N Fairfax Dr               Arlington, VA      22226   $    995.80

First Franklin                       2150 North First St             San Jose, CA       95131   $   4,994.40

First Roosevelt, LLC                 4 Research Drive, Suite 402     Shelton, CT        06484   $    634.39

GMAC                                 1100 Virginia Drive             Ft Washington, PA 19034    $   3,840.77

Goldman Sachs                        101 Constitution Ave NW         Washington, DC     20001   $    932.75

Green Tree Mortgage                  PO Box 6172                     Rapid City, SD     57709   $    206.08

HSBC                                 PO Box 1231                     Brandon, FL        33509   $   3,671.60
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                             U.S. vs. TAI KEYESTER aka TAI MADERIA
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                                             Restitution List


Impac Mortgage Holdings Inc           19500 Jamboree Rd                Irvine, CA        92614   $    154.75

JP Morgan Chase                       3415 Vision Dr                   Columbus, OH      43219   $ 14,110.02

Lehman Brothers Holdings Inc          1271 Avenue of the Americas      New York, NY      10020   $    473.87

Merrill Lynch                      450 N Stephanie St                  Henderson, NV     89014   $    230.69
Morgan Stanley Mortgage Capital
Holdings, LLC                      1585 Broadway, Lower B              New York, NY      10036   $   4,427.08
Morgan Stanley Mortgage Loan Trust
2006-AR                            1585 Broadway, 2nd Floor            New York, NY      10001   $    519.05

Mortgage Express Services             2972 Highway K                   O'Fallon, MO      63368   $    270.10

Natixis Real Estate Holdings LLC      9 West 57th St 36th Floor        New York, NY      10019   $    624.78

New Century Mortgage                  20 Pacifica, Suite 620           Irvine, CA        92618   $    422.93
                                      Worldwide Plaza
Nomura Crecdit Capital Inc            309 West 49th St                 New York, NY      10019   $   1,771.30

Ocwen Loan Servicing , LLC            3451 Hammond Ave                 Waterloo, IA      50702   $   1,712.09

Ocwen per GMAC                        3451 Hammond Ave                 Waterloo, IA      50702   $    315.27

Pacific Mercantile Bank               949 South Coast Dr Third Floor   Costa Mesa, CA    92626   $    539.81

Prime Asset Fund III, LLC             16242 N Florida Ave              Lutz, FL          33549   $    282.21

RBS Financial Products Inc            600 Washington Blvd              Stamford, CT      06901   $   2,029.94
                                      8400 Normandale Lake Blvd,
Residential Funding Co LLC            Suite 350                        Bloomington, MN 55437     $    855.85

SGGH, LLC                             15303 Ventura Blvd Suite 1600    Sherman Oaks, CA 91403    $    319.12
Terwin Advisors, LLC dba
The Winter Group                      45 Rockefeller Plz               New York, NY      10111   $   5,370.81

The Bank of New York Mellon           One Wall Street                  New York, NY      10286   $   2,651.76
United Guaranty Residential Insurance
Co                                    230 N Elm St                     Greensboro, NC    27401   $    153.79

US Bank                               800 Nicollet Mall                Minneapolis, MN   55402   $   3,385.73
US Bank NA as trustee on behalf of
Home Equity Asset Trust 2005-4 Home
Equity Pass Through Certificates Series
2005-4                                  17500 Rockside Rd              Bedford, OH       44146   $    545.96

Wells Fargo                           PO Box 29728                     Phoenix, AZ       85038   $    999.65

Wells Fargo Bank, NA dba ASC          PO Box 10328                     Des Moines, IA    50306   $   3,805.97
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                                             Restitution List


Wells Fargo Home Mortgage           PO Box 10335            Des Moines, IA   50306   $    998.11
Wilmington Trust, NA, as Successor
Trustee to Citibank, NA, as Trustee for
SACO I Trust 2006-5, Mortgage-Backed
Certificates, Series 2006-5             3451 Hammond Ave    Waterloo, IA     50702   $    682.07
Wilmington Trust, NA, as Successor
Trustee to Citibank, NA, as Trustee for
SACO I Trust 2006-6, Mortgage-Backed
Certificates, Series 2006-6             3451 Hammond Ave    Waterloo, IA     50702   $   1,015.41
Wilmington Trust, NA, as Successor
Trustee to Citibank, NA, as Trustee for
SACO I Trust 2006-9, Mortgage-Backed
Certificates, Series 2006-9             3451 Hammond Ave    Waterloo, IA     50702   $    299.89

Wilshire Credit Corp                14523 SW Millikan Way   Beaverton, OR    97005   $    892.38

WMC Mortgage Corp                   3100 Thornton Ave       Burbank, CA      91504   $    903.53

TOTAL LOSS:                                                                          $115,214.38
                CaseAmended
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                      Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                           Judgment — Page             of         2
 DEFENDANT: TAI KEYSTER aka TAI MADERIA
 CASE NUMBER: 2:13-CR-0083-JCM-CWH

                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

* A   ✔ Lump sum payment of $
      G                                  115,214.38          due immediately, balance due

           G not later than                                       , or
           G in accordance with G C,             G D,       G     E, or    ✔ F below; or
                                                                           G
 B    G Payment to begin immediately (may be combined with                G C,       G D, or G F below); or
 C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
             Schedule of payments – 10% of any income earned during incarceration and/or gross income while on
             supervision, subject to adjustment by the court based on ability to pay.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 G Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
 G
       "FINAL ORDER OF FORFEITURE ATTACHED"


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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